Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 1 of 10




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

   Ira Kleiman, as Personal Representative )
   of the Estate of David Kleiman,         )
                                           )
   and                                     )
                                           )                        Case No.: 18-cv-80176-BB
   W&K Info Defense Research, LLC          )
                                           )
          Plaintiffs,                      )
                                           )
   v.                                      )
                                           )
   Craig Wright,                           )
                                           )
          Defendant.                       )
   __________________________________ )

    NON-PARTY ANDREW O’HAGAN’S REPLY TO PLAINTIFFS’ RESPONSE TO
             O’HAGAN’S MOTION FOR ORDER COMPELLING
            PLAINTIFFS TO PAY FEES AND COSTS RELATED TO
          DOCUMENT AND DEPOSITION DISCOVERY IN ENGLAND

          Non-party witness Andrew O’Hagan (“O’Hagan”), through undersigned counsel,

  hereby Replies to Plaintiffs’ Response (the “Response”) [DE 806] to O’Hagan’s Motion for

  Order Compelling Plaintiffs To Pay Fees and Costs Related to Document and Depositions

  Discovery in England (the “Motion”) [DE 768] and states:

     I.        Introduction

          The Response boils down to a set of misrepresentations, followed by a rhetorical non

  sequitur, wrapped up by a concession. The Plaintiffs, after thoroughly misstating and

  mischaracterizing the simple (yet egregious) facts of this matter, go on to argue in opposition

  to relief O’Hagan is not seeking, while utterly ignoring O’Hagan’s arguments for the relief he

  is seeking. The Court should accordingly grant O’Hagan’s Motion.




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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 2 of 10




                  II. The Facts Mischaracterized and Misrepresented in the Response

             Plaintiffs contend in the Response that the process leading up to O’Hagan’s deposition

  was not “contentious, oppressive, and burdensome.” This is false. Everything about Plaintiffs’

  attack on O’Hagan’s privileges and privacy was “contentious, oppressive, and burdensome”

  – to say nothing of costly. Plaintiffs sought from the outset an offensively deep and invasive

  trawl of privileged journalistic materials to which they were not entitled. Plaintiffs caused

  O’Hagan to spend large sums defending his journalistic privileges by limiting the unjustifiably

  broad scope of the discovery Plaintiffs sought, as well as – since then – in trying to get paid

  by Plaintiffs for the fees and costs of doing so – fees Plaintiffs promised to pay, that the UK

  court ordered them to pay, and that this Court anticipated they would pay.

             Plaintiffs filed a motion on July 19, 2019, under the Hauge Convention on the Taking

  of Evidence Abroad in Civil or Commercial Matters (the “Hague Convention”), and on July

  24, 2019, Magistrate Judge Reinhart signed a Request for International Judicial Assistance.

  (“Request”) [DE 253]. The Request sought questioning of O’Hagan in four categories –

  general background, the accuracy of quotes in the article, all statements made by Craig Wright

  and his agents, and all statements by anyone else O’Hagan interviewed. Request at pp. 4-5.

  The Request also sought the video and audio recordings of O’Hagan’s interviews, as well as

  all the documents upon which O’Hagan relied. Id. at p. 5.

             Plaintiffs provided O’Hagan no notice of their Motion or the Request, but they did

  promise in the Request, which Magistrate Judge Reinhart signed, that the “fees and costs

  incurred which are reimbursable under the second paragraph of Article 14 or under Article

  26 of the Convention will be borne by Plaintiffs.”1 Id. at 8 (emphasis supplied).


  1
      Those provisions of the Hague Convention provide in pertinent part:

                                                                     2
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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 3 of 10




          Still without notice to O’Hagan, Plaintiffs then initiated an ex parte application in

  England on November 11, 2019, (the “First Application”) seeking to compel O’Hagan to

  provide the same testimony and documents set forth in the Request. A copy of the 15-page

  First Application with its more than 400 pages of exhibits is attached as Exhibit A. Plaintiffs

  omit from the Response that they again promised in this First Application to pay “O’Hagan’s

  costs of attending the deposition.” First Application at p. 12. On November 14, 2019, Justice

  Butcher of the English Commercial Court in London issued an Order compelling O’Hagan

  to provide the extensive and invasive testimony and documents Plaintiffs sought. A copy of

  the Order is attached as Exhibit B. The Order was the first word O’Hagan had that Plaintiffs

  were using the Courts to go after him and it gave him just 7 days to respond.




          Article 14

          ***

          The requested authority whose law obliges the parties themselves to secure
          evidence, and which is not able itself to execute the Letter, may, after having
          obtained the consent of the requesting authority, appoint a suitable person to
          do so. When seeking this consent the requested authority shall indicate the
          approximate costs which would result from this procedure. If the requesting
          authority gives its consent it shall reimburse any costs incurred; without such
          consent the requesting authority shall not be liable for the costs.

          Article 26
          A Contracting State, if required to do so because of constitutional limitations,
          may request the reimbursement by the State of origin of fees and costs, in
          connection with the execution of Letters of Request, for the service of process
          necessary to compel the appearance of a person to give evidence, the costs of
          attendance of such persons, and the cost of any transcript of the evidence.

          Where a State has made a request pursuant to the above paragraph, any other
          Contracting State may request from that State the reimbursement of similar fees
          and costs.

                                                                  3
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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 4 of 10




          O’Hagan, who of course did not choose to be a witness – and certainly not on the

  Plaintiffs’ invasive, privilege-busting terms – immediately hired counsel to address the

  encyclopedic demands and Justice Butcher’s order. They rushed to file O’Hagan’s response

  on November 22, 2019 seeking to set aside the Order. A copy of his response is attached as

  Exhibit C. In his 14-page response to the Order, O’Hagan argued strenuously that Plaintiffs

  were not entitled to his privileged journalistic materials and that his sources for the articles,

  as well as the information they provided, should remain confidential.

          The proceedings, even at this stage, were very certainly “contentious, oppressive, and

  burdensome,” despite Plaintiffs’ claims now to the contrary. O’Hagan was battling a

  voluminous surprise request that went to the very core of his professional privilege and

  practice. In response to this massed assault, he was mounting an urgent and full-throated

  defense. But this was only the beginning.

          Despite the Response’s false claims to the contrary (Response at p. 2), Plaintiffs did

  not react to O’Hagan’s defense of his privacy by agreeing to limit “the deposition to protect

  O’Hagan’s journalistic privileges.” Instead, Plaintiffs fired another barrage. On December 6,

  2019, they filed a second statement arguing that the detailed source material should be

  produced (the “Second Application”). The 13-page Second Application and its over 400

  entirely new pages of exhibits are attached as Exhibit D. At this point, O’Hagan was fighting

  off over 900 pages of submissions from the Plaintiffs who were seeking a plenary invasion of

  his most sacrosanct professional privileges – “contentious, oppressive, and burdensome” by

  any measure. Plaintiffs once again omit from the Response that their Second Application

  reiterated their promise to reimburse O’Hagan’s “reasonable legal costs relating to

  compliance with [Justice Butcher’s Order].” Second Application at p. 13.



                                                                  4
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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 5 of 10




          And still Plaintiffs fought O’Hagan at every turn. For example, Plaintiffs would not

  even agree to transfer the case to the Media and Communications Court, where cases such as

  this are typically heard. Over Plaintiffs’ objections, O’Hagan had to work to secure this

  transfer, which was granted on December 11, 2019. A copy of this 5-page order of transfer is

  attached as Exhibit E. There, on December 14, 2019, O’Hagan had to file a second statement

  in support of his arguments concerning his journalistic privileges. A copy of this 11-page

  statement is attached as Exhibit F.

          It was not until all of this briefing was complete, and the case was set for a hearing

  before the Media and Communications Court on December 20, 2019, that Plaintiffs finally

  conceded what they should have admitted at the start: that their quest to pierce O’Hagan’s

  journalistic privileges was not supported by the law. Only then did Plaintiffs, reluctantly and

  at long last, agree to limit the deposition to background and the accuracy of the quotes in the

  article, and to permit O’Hagan fully to maintain his journalistic privileges. O’Hagan had

  never objected to providing this limited discovery; the extensive and expensive fight to which

  Plaintiffs subjected him was all for naught.

          Crucially, Plaintiffs at this point agreed again to pay O’Hagan’s reasonable fees and

  costs. All of this was memorialized in a Consent Order dated December 18, 2019. A copy of

  the Consent Order, bearing the seal of the UK court, is attached as Exhibit G. (A copy of the

  Consent Order without the seal was attached as Exhibit A to the Motion.)

          But even though Plaintiffs were obligated (by their promises, by the Hague

  Convention, and by the order of the UK court) to pay O’Hagan’s fees, Plaintiffs – having

  obtained the testimony they sought – then resisted making that payment at every turn,

  continuing their practice of subjecting O’Hagan to “contentious, oppressive, and

  burdensome” proceedings.
                                                                  5
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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 6 of 10




              O’Hagan submitted his fees to Plaintiffs on March 30, 2020. Plaintiffs disputed the

  amount and forced O’Hagan to proceed to a hearing where the English court determined the

  balance of fees owed was £92,707.48. See Order dated March 23, 2021 attached as Exhibit C

  to the Motion.2 Extensive correspondence between Plaintiffs’ and O’Hagan’s counsel from

  March 30, 2020 to March 16, 2021, demonstrates Plaintiffs’ refusal to pay what O’Hagan was

  fairly due in responding to Plaintiffs’ onerous and legally unsupported discovery.

              Now, after all of this, Plaintiffs also omit from the Response that on November 8, 2021

  they made use in this Court of the discovery they obtained by way of their “contentious,

  oppressive, and burdensome” practices. On that day they played to the jury nearly an hour of

  O’Hagan’s videotaped deposition as part of their case in chief. A minute entry of the Court

  reflecting this is attached as Exhibit H.

       III.      Argument

       The Response relies on irrelevant authority to oppose relief O’Hagan is not seeking; it

  ignores (and thereby concedes) the arguments O’Hagan is making for the relief he is seeking;

  and it continues to flaunt the standards of the Hague Convention, belie the promises Plaintiffs

  made, and defy the orders of both the UK Court and of this Court in the Request.

       A. O’Hagan isn’t asking this Court to “enforce a foreign judgment.”

        The bulk of the Response – and the only citations to any authority3 within it – are given

  over to the Plaintiffs’ firm contention that this Court cannot enforce the foreign judgment



  2
   Plaintiffs did not simply “agree to advance £34,988 of O’Hagan’s fees” as they falsely claim
  in the Response. Response at p. 2. This sum was merely an interim payment, it was accounted
  for in the March 23 Order, and never intended to be the total amount owed O’Hagan. Rather,
  the English court ordered Plaintiffs to pay all of O’Hagan’s fees.
  3
   It therefore could go without saying – although we will say it – that the caselaw upon which
  Plaintiffs rely in their Response is wildly inapposite to the issues raised or relief sought in the
                                                                    6
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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 7 of 10




  against them that O’Hagan domesticated in the State of Florida. To that argument O’Hagan

  says: “Agreed,” and “So what?”

       As the Motion makes abundantly clear, O’Hagan is not asking this Court to “enforce a

  foreign judgment.”4 For that purpose O’Hagan has domesticated the judgment in Florida and

  can and will proceed through the Florida courts to collect that judgment, as need be. But

  O’Hagan’s plea to this Court is just what the Motion said it was – that the Court require

  litigants before it to pay the costs of non-party discovery they compelled for use before it. As

  the Motion made clear, there are at least three bases (which we will not reargue here) upon

  which the Court can and should order that payment: The fee-shifting provisions of Rule

  45(d)(1) of the Federal Rules of Civil procedure; to uphold principles of comity by giving

  meaning to the orders of the English courts entered in aid of the litigation now just concluded

  before this Court; and in simple equity on the basis of this Court’s broad inherent powers.

       B. Having ignored O’Hagan’s actual arguments, Plaintiffs have effectively
          conceded them.

       Because Plaintiffs chose in the Response to couch every argument in terms of denying

  O’Hagan relief he didn’t seek, they have failed even to address the issue of the relief O’Hagan

  is seeking, or the grounds upon which he is seeking it. In doing so, they have conceded those

  grounds.




  Motion. The Court can and should simply disregard Plaintiffs’ citations to caselaw and
  statutes that all concern a matter not before it.
  4
    The judgment does provide a definitive, liquidated amount for the fees and costs that the
  UK court determined were fairly owed to O’Hagan. But, as the Motion makes abundantly
  clear, O’Hagan is not seeking to execute on the judgment through the power of this Court,
  but rather to have this Court enforce the underlying orders of the UK court and to do equity
  of its own, based on the principles in Rule 45(d)(1) and through its own inherent powers.
                                                                    7
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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 8 of 10




       Having entirely ignored O’Hagan’s Rule 45 arguments (the Rule simply doesn’t appear in

  the Response), Plaintiffs’ Response gives a glancing nod to the arguments made with respect

  to international comity and the Court’s inherent powers, but only to argue that those

  principles don’t support enforcement of a domesticate foreign judgment – which O’Hagan

  isn’t seeking. Response at pp. 3 – 4. This might be characterized as a red herring, or perhaps

  as a chimera, but however it is called, it’s a beast that will not serve. Because in resting every

  argument on the simply false notion that O’Hagan is asking this Court to enforce a foreign

  judgment, Plaintiffs never engage with the argument that O’Hagan did make: That the Court

  should order them to pay the fees and costs5 they forced him to incur; that they repeatedly

  promised (in the UK and before this Court) to pay; that the UK court ordered paid in

  proceedings were undertaken at the request of this Court and which are entirely ancillary to

  this Court; that Rule 45 authorizes paying; and that this Court has the power to order paid.

       Having thus ignored the claims and arguments O’Hagan actually made, Plaintiffs have

  conceded them. See GVB MD v. Aetna Health Inc., 2020 WL 1692635, at *4, note 5 (S.D. Fla.



  5
    At this point, Plaintiffs’ stubborn opposition to an order requiring them to pay those fees
  and costs should now subject them – in equity and as a sanction – to pay the substantial fees
  O’Hagan has been forced to incur in the filing of his Motion and this Reply. 28 USC § 1927
  is custom made to shift the costs of unnecessary proceedings like these to the attorneys
  responsible for them. It states in full:

            Any attorney or other person admitted to conduct cases in any court of the
            United States or any Territory thereof who so multiplies the proceedings in any
            case unreasonably and vexatiously may be required by the court to satisfy
            personally the excess costs, expenses, and attorneys’ fees reasonably incurred
            because of such conduct.

  Plaintiffs’ responsibility for the fees and costs O’Hagan incurred is so patent, their counsel’s
  “arguments” in opposition are so frivolous, that that Plaintiffs’ opposition very certainly
  multiplied these proceedings “unreasonably and vexatiously.” The Court can and should
  order Plaintiffs’ counsel to make good the fees associated with the Motion and this Reply.

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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 9 of 10




  Apr. 7, 2020) (“A party who aspires to oppose a motion must spell out his arguments squarely

  and distinctly, or else forever hold his peace. And failing to respond to an argument in a motion

  is equal to conceding that argument.”) (internal quotations and citations omitted, emphasis

  supplied). See also GolTV, Inc. v. Fox Sports Latin America Ltd., 277 F. Supp. 3d, 1301, 1311,

  note 7 (S.D. Fla. Sept. 19, 2017) (“When a party fails to respond to an argument or address a

  claim in a responsive brief, such argument or claim can be deemed abandoned.”) (citing

  Hartford Steam Boiler Inspection & Ins. Co. v. Brickellhouse Condo. Ass'n, Inc., 2016 WL 5661636,

  at *3 (S.D. Fla. Sept. 30, 2016)).

       C. Events in this Court since the Motion further support granting it.

       Finally, the events that have unfolded in this Court since the Motion was filed only further

  support O’Hagan’s request to this Court, and hew perfectly to O’Hagan’s bases for that

  request. Any question of whether the discovery Plaintiffs obtained from O’Hagan was in

  service to their litigation before this Court was put to rest during the trial of this matter.

  Plaintiffs played almost one hour of O’Hagan’s video deposition to the jury during their case

  in chief. And that testimony was part of what the jury considered in rendering a verdict in

  Plaintiffs’ favor for $100,000,000.00.6

       IV.       Conclusion

       For the reasons stated herein and in the Motion, O’Hagan respectfully requests the Court

  enter an order directing Plaintiffs to pay the fees and costs he incurred as a result of Plaintiffs’

  discovery demands, in an amount set forth in the Judgment; awarding O’Hagan the fees and

  costs associated with this Motion; and granting such other relief as the Court deems just.



  6
   The verdict also disposes of Plaintiffs’ attorneys’ unsupported assertion that “neither of the
  Plaintiffs have [sic] any assets.” That claim was always irrelevant to whether this Court should
  order O’Hagan’s fees and costs paid. Now, besides being irrelevant, it is false.
                                                                    9
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Case 9:18-cv-80176-BB Document 816 Entered on FLSD Docket 12/08/2021 Page 10 of 10




           Dated: December 8, 2021.
                                                               Respectfully submitted,

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                                                               /s/ Guy A. Rasco
                                                               Guy A. Rasco, Esq. (F.B.N.: 727520)
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                                                               Attorneys for Andrew O’Hagan




                                             CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the
   CM/ECF Filing System this 8th day of December, 2021, on counsel of record.


                                                               /s/ Robert J. Kuntz, Jr.
                                                               Robert J. Kuntz, Jr., Esq.




                                                                  10
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